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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 EUGENE MARTIN LAVERGNE, et al.,

                 Plaintiffs,

        v.
                                                     Civil Action No. 17-793 (CKK-CP-RDM)
 UNITED STATES HOUSE OF
 REPRESENTATIVES, et al.,

                 Defendants.


                           MEMORANDUM OPINION AND ORDER

       Eugene LaVergne, Frederick LaVergne, Leonard Marshall, Scott Neuman, and Allen

Cannon sued a variety of state and federal defendants, claiming that a sufficient number of states

ratified a version of a proposed constitutional amendment, Article the First, that would require the

U.S. House of Representatives to include at least one representative for every 50,000 Americans.

After dismissing Eugene LaVergne as precluded from litigating here issues he already litigated

and lost in the District of New Jersey, ECF Nos. 127, 154, we dismissed the balance of the claims

for lack of subject-matter jurisdiction, ECF No. 164. We presume the reader’s familiarity with

those decisions. The four plaintiffs who unsuccessfully opposed the Rule 12(b)(1) dismissal now

move for reconsideration: Frederick LaVergne, Scott Neuman, and Allen Cannon have moved for

reconsideration and to amend the complaint, ECF No. 167, while Leonard Marshall has filed a pro

se motion for reconsideration, ECF No. 168. We already denied the identical pro se motion from

Eugene LaVergne because he was not party to the judgment he sought to alter. ECF No. 177. As

we explain below, neither of the other two motions provides a basis to reconsider the June 11,

2019 judgment.


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       As to their Article-the-First claims, Plaintiffs first contend that Rucho v. Common Cause,

139 S. Ct. 2484 (2019), constitutes “an ‘intervening change of controlling law.’” Leidos, Inc. v.

Hellenic Republic, 881 F.3d 213, 217 (D.C. Cir. 2018) (quoting Firestone v. Firestone, 76 F.3d

1205, 1208 (D.C. Cir. 1996) (per curiam)). Critically, however, they fail to identify anything in

Rucho that pertains to the justiciability of the kinds of errors they claim occurred in the Article V

constitutional amendment process regarding Article the First. Additionally, Plaintiffs continue to

dispute the precedential force of Coleman v. Miller, 307 U.S. 433 (1939), but see Baker v. Carr,

369 U.S. 186, 214 (1962) (“In Coleman v. Miller, supra, this Court held that the questions of how

long a proposed amendment to the Federal Constitution remained open to ratification, and what

effect a prior rejection had on subsequent ratification, were committed to congressional resolution

and involved criteria of decision that necessarily escaped the judicial grasp.”). They also contest

whether Article V originally required ten of thirteen states to ratify Article the First (versus nine,

if “fractional numbers” were ignored, or rounded down rather than up to the nearest whole number,

in calculating three fourths of the states ), compare Eugene Martin LaVergne, How “Less” Is

“More”: The Story of the Real First Amendment to the United States Constitution 348 (2016)

(recounting that Thomas Jefferson stated in 1791 that ten of fourteen states sufficed to ratify a

constitutional amendment), with Federalist No. 85, at 524 n.† (Alexander Hamilton) (Clinton

Rossiter ed., 1961) (noting in 1788 that ten of thirteen states would need to ratify a proposed

amendment). Those contentions provide no basis for reconsideration because we expressly

declined to reach those issues in holding that a scrivener’s error in a proposed constitutional

amendment is nonjusticiable. LaVergne v. U.S. House of Representatives, 392 F. Supp. 3d 108,

118 (D.D.C. 2018).




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        Regarding what we did hold, Plaintiffs argue that application of the scrivener’s error

doctrine to the text of Article the First as Congress proposed it in 1789 for ratification by the

several states is no more a political question than is that doctrine’s application to federal legislation.

Plaintiffs again point out that a court may correct legislative errors insofar as they are “the result

of obvious mistake.” United States v. Palmer, 854 F.3d 39, 52 (D.C. Cir. 2017) (quotation

omitted); see also U.S. Nat’l Bank of Or. v. Indep. Ins. Agents of Am., Inc., 508 U.S. 439, 462

(1993). But the reviewability of products of the Article I, § 7 legislative process does not control

here. Article V involves Congress and the states in “succeeding steps in a single endeavor”—

Congress’s “proposal” and states’ “ratification” of constitutional amendments. Dillon v. Gloss,

256 U.S. 368, 374-75 (1921); see also Leser v. Garnett, 258 U.S. 130, 137 (1922); Hawke v. Smith,

253 U.S. 221, 227, 230 (1920). We held that it is not the function of courts to retrospectively insert

ourselves midstream in a long-concluded Article V process to edit the proposed amendment states

then considered—even if we were to conclude that the proposed text now, centuries later, appears

to contain an “obvious” error. In short, Plaintiffs still fail to overcome Article V’s “textually

demonstrable constitutional commitment of the issue” of a proposed constitutional amendment’s

textual error to correction by the political branches. Zivotofsky ex rel. Zivotofsky v. Clinton, 566

U.S. 189, 195 (2012) (quoting Baker, 369 U.S. at 217). We thus adhere to our holding that their

claims involve a nonjusticiable political question.

        We are unpersuaded by Neuman’s contention that Department of Commerce v. New York,

139 S. Ct. 2551 (2019), calls into question our holding that he lacks standing to challenge the

federal apportionment statute, 2 U.S.C. § 2a. See LaVergne, 392 F. Supp. 3d at 118. He identifies

no “clear error,” Leidos, 881 F.3d at 217 (quoting Firestone, 76 F.3d at 1208), in our conclusion

that neither the alleged loss of a congressional representative by “either New Jersey or



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Louisiana”—it is not clear which—nor a smattering of generalized alleged harms suffices to plead

standing. Mot. for Leave to File 2d Am. Compl. at 14.

                                            *   *       *

        Accordingly, because Plaintiffs fail to provide a basis for us to reconsider the June 11,

2019, judgment, we deny the motions for reconsideration filed on behalf of Frederick LaVergne,

Scott Neuman, and Allen Cannon, ECF No. 167, and by Leonard Marshall, ECF No. 168.

Frederick LaVergne, Scott Neuman, and Allen Cannon also request leave to amend their pleadings,

ECF No. 167, but because they have identified no facts that would cure the defects identified in

the prior order, their request is denied.

        So ordered.

                                                     /s/ Cornelia T.L. Pillard
                                                    CORNELIA T.L. PILLARD
                                                    United States Court of Appeals Judge

                                                     /s/ Colleen Kollar-Kotelly
                                                    COLLEEN KOLLAR-KOTELLY
                                                    United States District Judge

                                                     /s/ Randolph D. Moss
                                                    RANDOLPH D. MOSS
                                                    United States District Judge




Date: October 21, 2019




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